                    UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                            Case No. 20-cv-954


 FARHAD AZIMA,
                                                   MOTION FOR LEAVE TO FILE
        Plaintiff,                                SUPPLEMENTAL INFORMATION
                                                    RELATED TO DEFENDANTS’
        v.                                         OPPOSITION TO EMERGENCY
                                                   MOTION FOR LEAVE TO FILE
 NICHOLAS DEL ROSSO and VITAL                     SUPPLEMENTAL INFORMATION
 MANAGEMENT SERVICES, INC.,                            IN LIGHT OF NEWLY
                                                     DISCOVERED EVIDENCE
        Defendants.



       Plaintiff Farhad Azima (“Azima”) respectfully requests leave of the Court to file

supplemental information related to the Court’s review of the Order and Recommendation

of United States Magistrate Judge Joe L. Webster in this matter (ECF No. 54) and his prior

Emergency Motion For Leave to File Supplemental Information In Light of Newly

Discovered Evidence (ECF No. 61) (“Motion to Supplement”). Azima also respectfully

renews his request to start discovery in this matter and that the motion to dismiss be denied.

(ECF No. 61 at 8-9).

       In the Motion to Supplement, Azima attached newly discovered text messages

between Defendants and Aditya Jain that show Defendants engaged in witness intimidation

and the manufacturing of evidence to obscure his involvement in the hack of Azima. (ECF

No. 61-1). On October 21, 2021, Nicholas Del Rosso and Vital Management Services, Inc.

(“Defendants”) opposed. (ECF No. 62 at 1-2). Defendants did not deny the allegations but

asked the Court to disregard the text messages because Azima did not authenticate them.

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      Since then, however, in court filings in the U.K., Defendants’ principal, Ras Al

Khaimah Investment Authority (“RAKIA”), confirmed that Del Rosso and Jain

communicated during the period at issue here. Azima had filed a re-amended counterclaim

in the U.K proceeding against RAKIA and several individual defendants on September 30,

2021. Exhibit 1. In the re-amended counterclaim, Azima alleged the following about efforts

by RAKIA and its agents to suppress witness testimony:

      “Mr Jain has been the subject to an ongoing campaign to persuade him not

      to provide evidence in these proceedings, since August 2020, including:

          a. repeated messages from Mr Del Rosso seeking information about

             what he was doing and saying it was in his best interests not to assist

             Mr Azima;

          b. demands from Mr [Vijay] Pandey and others that [Jain] back off;

          c. repeated attempts to hack his own communications;

          d. approaches by a person impersonating a police officer investigating

             an alleged criminal complaint for data theft and seeking to solicit a

             bribe to make it go away.”

Exhibit 1 ¶ 81C. The allegations describe the text messages Azima also put before this

Court in the Motion to Supplement and are the same text messages Defendants argued were

not authenticated. On November 19, 2021, RAKIA filed its defense to the re-amended

counterclaim and admitted “that Mr del Rosso and Mr Jain communicated via messages in

2020.” Exhibit 2 at ¶ 81C.



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      Thus, in direct response to an allegation in Azima’s re-amended counterclaim

describing the same text messages Azima provided to this court, Defendants’ employers

admitted that Defendant Del Rosso was in communication with Jain during the period

represented in the materials previously submitted to the Court. This development adds

renewed urgency to Azima’s prior motion to supplement the record with those text

messages and begin discovery as soon as possible to thwart any ongoing efforts by

Defendants create more false documents, destroy evidence, and spoil discovery. Azima

respectfully requests that this Court consider the text messages as it weighs the motion to

dismiss, which Azima requests that the Court deny in full.

      This, the 30th day of November, 2021.

                                          WOMBLE BOND DICKINSON (US) LLP

                                          /s/ Ripley Rand
                                          Ripley Rand
                                          North Carolina Bar No. 22275
                                          Christopher W. Jones
                                          North Carolina Bar No. 27625
                                          555 Fayetteville Street, Suite 1100
                                          Raleigh, North Carolina 27601
                                          Phone: 919-755-2100
                                          Fax: 919-755-2150
                                          Email: ripley.rand@wbd-us.com
                                                  chris.jones@wbd-us.com

                                          MILLER & CHEVALIER CHARTERED


                                          /s/ Kirby D. Behre
                                          Kirby D. Behre (pro hac vice)
                                          Brian A. Hill (pro hac vice)
                                          Tim O’Toole (pro hac vice)
                                          Ian Herbert (pro hac vice)
                                          Calvin Lee (pro hac vice)

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                             900 16th Street, NW
                             Washington, D.C. 20006
                             Telephone: (202) 626-5800
                             Fax: (202) 626-5801
                             Email: kbehre@milchev.com

                             Counsel for Plaintiff




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                        CERTIFICATE OF WORD COUNT
      I certify under LR 7.3(d)(1) that the body of this brief, headings, and footnotes

together contain 3,125 words or fewer, as reported by the word count feature in Microsoft

Word 2016.



                                         WOMBLE BOND DICKINSON (US) LLP


                                         /s/ Ripley Rand
                                         Ripley Rand
                                         North Carolina Bar No. 22275
                                         Christopher W. Jones
                                         North Carolina Bar No. 27625
                                         555 Fayetteville Street, Suite 1100
                                         Raleigh, North Carolina 27601
                                         Phone: 919-755-2100
                                         Fax: 919-755-2150
                                         Email:        chris.jones@wbd-us.com
                                                       ripley.rand@wbd-us.com




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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                            CASE NO. 20-CV-954


FARHAD AZIMA,

       Plaintiff,

       v.                                          CERTIFICATE OF SERVICE

NICHOLAS DEL ROSSO and VITAL
MANAGEMENT SERVICES, INC.,

       Defendants.




       I hereby certify that I electronically filed the foregoing with the Clerk of Court using
the CM/ECF system, which will send electronic notification of this Notice to the following
attorneys:
       Kieran J. Shanahan, Esq.
       Brandon S. Neuman, Esq.
       Jeffrey M. Kelly, Esq.
       Nathaniel J. Pencook, Esq.
       GlenLake One
       4140 Parklake Avenue - Suite 200
       Raleigh, NC 27612
       kieran.shanahan@nelsonmullins.com
       brandon.neuman@nelsonmullins.com
       jeff.kelly@nelsonmullins.com
       nate.pencook@nelsonmullins.com
       Telephone: 919.329.3800
       Facsimile: 919.329.3799




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This, the 30th day of November, 2021.

                                 WOMBLE BOND DICKINSON (US) LLP

                                 /s/ Ripley Rand
                                 Ripley Rand
                                 North Carolina State Bar No. 22275
                                 555 Fayetteville Street, Suite 1100
                                 Raleigh, NC 27601
                                 Telephone:     (919) 755-8125
                                 Facsimile:     (919) 755-6752
                                 Email:         ripley.rand@wbd-us.com


                                 Counsel for Plaintiff




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